                                                                                                     FILED IN THE
          Case 1:16-cr-02079-SAB           ECF No. 84       filed 12/21/16      PageID.210 Page U.S.
                                                                                                1 of     1 COURT
                                                                                                     DISTRICT
O PS 8                                                                                             EASTERN DISTRICT OF WASHINGTON
(3/15)


                              UNITED STATES DISTRICT COURT                                          Dec 21, 2016
                                                                                                          SEAN F. MCAVOY, CLERK

                                                           for
                                           Eastern District of Washington

 U.S.A. vs.                    Daniel Woolem                           Docket No.          0980 1:16CR02079-SAB-1

                                Petition for Action on Conditions of Pretrial Release

         COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Daniel Woolem, who was placed under pretrial release supervision by the Honorable Chief U.S. District Court
Judge Thomas O. Rice, via video conference in the Court at Yakima, Washington, on the 28th day of October 2016 under
the following condition:

Condition #18: Avoid all contact, direct or indirect, with known felons and all co-defendants.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: Having direct contact with known felons between October 28, 2016 and December 3, 2016.

                     PRAYING THAT THE COURT WILL TAKE NO ACTION AT THIS TIME
                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       December 21, 2016
                                                                 by      s/Linda Leavitt
                                                                         Linda Leavitt
                                                                         U.S. Pretrial Services Officer

THE COURT ORDERS
[X ] No Action
[ ]  The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                           Signature of Judicial Officer
                                                                             12/21/2016


                                                                           Date
